Case 2:18-cv-05933-PA-AS Document 16 Filed 07/30/18 Page 1 of 22 Page ID #:70



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 11   Deux Ron, Inc., Rob Hensley,
      and Eric Hensley
 12
                                UNITED STATES DISTRICT COURT
 13
                              CENTRAL DISTRICT OF CALIFORNIA
 14
                                          WESTERN DIVISION
 15
      WEBMAGIC VENTURES, LLC, a                           CASE NO.: 2:18-cv-5933-PA-AS
 16   California limited liability company,
                                                          Hon. Percy Anderson
 17                          Plaintiff,
                                                          DEFENDANTS’ NOTICE OF
 18   v.                                                  MOTION AND MOTION TO
                                                          DISMISS PURSUANT TO FED. R.
 19   DEUX RON, INC., a Tennessee                         CIV. P. 12(B)(2), 12(B)(3), OR IN
      corporation; RON HENSLEY, an                        THE ALTERNATIVE, TO
 20   individual; and ERIC HENSLEY, an                    TRANSFER VENUE UNDER 28
      individual,                                         U.S.C. §§ 1404, 1406, 1631.
 21
                             Defendants.                  JURY TRIAL DEMANDED
 22
                                                          DATE:   August 27, 2018
 23                                                       TIME:   1:30 p.m.
                                                          COURTROOM: 9A
 24
                                                          TRIAL DATE:          Not set
 25

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           DEFENDANTS’ MOTION TO DISMISS PURSUANT TO FED. R. CIV. P. 12(B)(2), 12(B)(3), OR IN THE
                  ALTERNATIVE, TO TRANSFER VENUE UNDER 28 U.S.C. §§ 1404, 1406, 1631
Case 2:18-cv-05933-PA-AS Document 16 Filed 07/30/18 Page 2 of 22 Page ID #:71



  1         TO ALL PARTIES AND TO THEIR ATTORNEYS OF RECORD:
  2         PLEASE TAKE NOTICE that on August 27, 2018, at 1:30 p.m., or as soon
  3   thereafter as the matter may be heard in courtroom 9A of the above-entitled Court,
  4   located at 350 W. First Street, Los Angeles, California, Defendants Deux Ron, Inc.,
  5   Ron Hensley and Eric Hensley will move the Court for an order granting their Motion
  6   to Dismiss for lack of personal jurisdiction under Fed. R. Civ. P. 12(b)(2), their
  7   Motion to Dismiss for Improper Venue under Fed. R. Civ. P. 12(b)(3), and their
  8   alternative Motion to Transfer Venue under 28 U.S.C. §§ 1404, 1406 and/or 1631.
  9   For their Motion, Defendants rely upon this Notice, the pleadings of record, the
 10   Declarations of Ron Hensley, Eric Hensley, a supporting brief, the matters of which
 11   this Court may be requested to take judicial notice, and upon such other matters,
 12   whether written or oral, as may be presented to the Court at or prior to the hearing on
 13   this motion.
 14         Respectfully, because this Court lacks jurisdiction over Defendants, and this
 15   judicial district is an improper venue to adjudicate the Plaintiff's claims, the Court
 16   should dismiss the Complaint. Alternatively, this Court should transfer this action to
 17   the United States District Court for the Eastern District of Tennessee at Knoxville.
 18         This motion is made following the conference of counsel pursuant to L.R. 7-3
 19   which took place on July 25, 2018.
 20

 21    DATED: July 30, 2018                         Respectfully submitted,
 22                                                 GLASER WEIL FINK HOWARD
                                                     AVCHEN & SHAPIRO LLP
 23

 24
                                                    By: /s/ Erica J. Van Loon
 25
                                                    ERICA J. VAN LOON
 26                                                    Attorney for Defendants
                                                       Deux Ron, Inc., Rob Hensley,
 27                                                    and Eric Hensley.
 28                                                 JOHN G. JACKSON (pro hac vice app.
                                                    pending)
                                               1
          DEFENDANTS’ MOTION TO DISMISS PURSUANT TO FED. R. CIV. P. 12(B)(2), 12(B)(3), OR IN THE
                 ALTERNATIVE, TO TRANSFER VENUE UNDER 28 U.S.C. §§ 1404, 1406, 1631
Case 2:18-cv-05933-PA-AS Document 16 Filed 07/30/18 Page 3 of 22 Page ID #:72



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        DEFENDANTS’ MOTION TO DISMISS PURSUANT TO FED. R. CIV. P. 12(B)(2), 12(B)(3), OR IN THE
               ALTERNATIVE, TO TRANSFER VENUE UNDER 28 U.S.C. §§ 1404, 1406, 1631
Case 2:18-cv-05933-PA-AS Document 16 Filed 07/30/18 Page 4 of 22 Page ID #:73



  1                                             TABLE OF CONTENTS
                                                                                                                     Page
  2

  3
      I.   PERSONAL JURISDICTION ........................................................................ 1
           A.  Defendants' Sworn Facts ....................................................................... 1
  4
           B.  Rule 12 Standard ................................................................................... 2
  5        C.  ARGUMENT ........................................................................................ 4
  6
               1.      The Defendants Have Not Purposefully Availed Themselves
                       of California’s Benefits and Protections..................................... 4
  7            2.      The Defendants Have Not Purposefully Directed Any
                       Activities Towards California. ................................................... 4
  8
                       a.        Plaintiffs have not alleged Defendants “expressly
  9
                                 aimed” any litigation-related activities towards
                                 California. ......................................................................... 8
 10            3.      Cases Predating Axiom Foods Are No Basis to Find
                       Personal Jurisdiction Here. ....................................................... 11
 11
      II.  VENUE.......................................................................................................... 11
 12   III. CONCLUSION ............................................................................................. 13
 13
      DEMAND FOR JURY TRIAL ............................................................................... 14

 14

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           DEFENDANTS’ MOTION TO DISMISS PURSUANT TO FED. R. CIV. P. 12(B)(2), 12(B)(3), OR IN THE
                  ALTERNATIVE, TO TRANSFER VENUE UNDER 28 U.S.C. §§ 1404, 1406, 1631
Case 2:18-cv-05933-PA-AS Document 16 Filed 07/30/18 Page 5 of 22 Page ID #:74



  1                                          TABLE OF AUTHORITIES
                                                                                                                    Page
  2

  3
                                                    FEDERAL CASES

  4
      Adidas Am., Inc. v. Cougar Sport, Inc.,
        169 F. Supp. 3d 1079 (D. Or. 2016) ........................................................................ 11
  5
      Advanced Tactical Ordnance Sys., LLC v. Real Action Paintball, Inc.,
  6
        751 F.3d 796 (7th Cir. 2014) ........................................................................... 7, 9, 10

  7
      Am. Info. Corp. v. Am. INFOMETRICS, INC.,
       139 F. Supp. 2d 696 (D. Md. 2001) ........................................................................... 9
  8
      Audi AG v. D'Amato,
  9
        341 F. Supp. 2d 734 (E.D. Mich. 2004)..................................................................... 3

 10
      Axiom Foods, Inc. v. Acerchem Int'l, Inc.,
        874 F.3d 1064 (9th Cir. 2017) ........................................... 1, 3, 4, 5, 6, 7, 8, 9, 10, 11
 11
      Bancroft & Masters, Inc. v. Augusta Nat'l Inc.,
 12
        223 F.3d 1082 (9th Cir. 2000) ................................................................................. 11

 13
      Brayton Purcell LLP v. Recordon & Recordon,
        606 F.3d 1124 (9th Cir. 2010) ................................................................................. 11
 14
      Bristol-Myers Squibb Co. v. Superior Court,
 15
        137 S. Ct. 1773 (2017) ....................................................................................... 2, 3, 6

 16
      Burger King Corp. v. Rudzewicz,
        471 U.S. 462 (1985) ............................................................................................... 3, 4
 17
      Carsey-Werner Co., LLC v. BBC,
 18
        No. CV 17-8041 PA (ASx), 2018 U.S. Dist. LEXIS 33862
        (C.D. Cal. Feb. 23, 2018) ..................................................................................... 8, 11
 19
      Cybersell, Inc. v. Cybersell, Inc.,
 20
        130 F.3d 414 (9th Cir. 1997) ................................................................................. 3, 9

 21
      Data Disc. Inc. v. Systems Tech. Assocs., Inc.,
       557 F.2d 1280 (9th Cir. 1977) ................................................................................... 2
 22
      Dole Food Co., Inc. v. Watts,
 23
       303 F.3d 1104 (9th Cir. 2002) ................................................................................... 3

 24
      eBay Inc. v. Digital Point Solutions, Inc.,
        608 F.Supp.2d 1156 (N.D. Cal. 2009) ..................................................................... 12
 25
      EcoDisc Tech. AG v. DVD Format/Logo Licensing Corp.,
 26
        711 F. Supp. 2d 1074 (C.D. Cal. 2010) ..................................................................... 9

 27
      Edberg v. Neogen Corp.,
        17 F. Supp. 2d 104 (D. Conn. 1998) .......................................................................... 9
 28

                                                ii
           DEFENDANTS’ MOTION TO DISMISS PURSUANT TO FED. R. CIV. P. 12(B)(2), 12(B)(3), OR IN THE
                  ALTERNATIVE, TO TRANSFER VENUE UNDER 28 U.S.C. §§ 1404, 1406, 1631
Case 2:18-cv-05933-PA-AS Document 16 Filed 07/30/18 Page 6 of 22 Page ID #:75



      Erickson v. Neb. Mach. Co.,
  1     No. 15-cv-01147-JD, 2015 U.S. Dist. LEXIS 87417
        (N.D. Cal. July 6, 2015) ........................................................................................... 11
  2
      Fighter's Mkt., Inc. v. Champion Courage Llc,
  3     207 F. Supp. 3d 1145 (S.D. Cal. 2016) .................................................................... 11
  4   Fiore v. Walden,
        688 F.3d 558 (9th Cir. 2012) ..................................................................................... 6
  5
      GemCap Lending I, Ltd. Liab. Co. v. Grow Mich., Ltd. Liab. Co.,
  6    No. 2:17-cv-07092-ODW (AS), 2018 U.S. Dist. LEXIS 15989
       (C.D. Cal. Jan. 31, 2018) ......................................................................................... 11
  7
      Golden Scorpio Corp. v. Steel Horse Bar & Grill,
  8    596 F.Supp.2d 1282 (D. Ariz., 2009) ...................................................................... 12
  9   Goodyear Dunlop Tires Operations, S.A. v. Brown,
       564 U.S. 915 (2015) ................................................................................................... 3
 10
      Haigh v. Abuelizam,
 11    No. 17-00582 JMS-KSC, 2018 U.S. Dist. LEXIS 56948
       (D. Haw. Apr. 3, 2018) ............................................................................................ 11
 12
      Holder Corp. v. Main St. Distrib.,
 13    No. CIV 86-1285 PHX RCB, 1987 U.S. Dist. LEXIS 10345
       (D. Ariz. Jan. 16, 1987)............................................................................................ 12
 14
      Honda Associates, Inc. v. Nozawa Trading, Inc.,
 15    374 F. Supp. 886 (S.D.N.Y. 1974) .......................................................................... 12
 16   Int'l Comfort Prods. v. Hanover House Indus.,
        739 F. Supp. 503 (D. Ariz. 1989) ............................................................................ 12
 17
      Keeton v. Hustler Magazine, Inc.,
 18     465 U.S. 770 (1984) ................................................................................................... 3
 19   Mavrix Photo, Inc. v. Brand Techs., Inc.,
       647 F.3d 1218 (9th Cir. 2011) ................................................................................... 9
 20
      MCA Records v. Charly Records Ltd.,
 21    108 F.3d 338, 1997 WL 76173 (9th Cir. Feb. 21, 1997) ......................................... 11
 22   McGibney v. Retzlaff,
       No. 14-cv-01059-BLF, 2015 U.S. Dist. LEXIS 79434
 23    (N.D. Cal. June 18, 2015) .......................................................................................... 9
 24   Morrill v. Scott Fin. Corp.,
       873 F.3d 1136 (9th Cir. 2017) ................................................................................... 3
 25
      Murphy v. Schneider Nat'l, Inc.,
 26    362 F.3d 1133 (9th Cir. 2004) ................................................................................. 12
 27   Nissan Motor Co. v. Nissan Computer Corp.,
        246 F.3d 675 (9th Cir. 2000) ................................................................................... 11
 28

                                                iii
           DEFENDANTS’ MOTION TO DISMISS PURSUANT TO FED. R. CIV. P. 12(B)(2), 12(B)(3), OR IN THE
                  ALTERNATIVE, TO TRANSFER VENUE UNDER 28 U.S.C. §§ 1404, 1406, 1631
Case 2:18-cv-05933-PA-AS Document 16 Filed 07/30/18 Page 7 of 22 Page ID #:76



      Panavision Int. L.P. v. Toeppen,
  1     141 F.3d 1316 (9th Cir. 1998) ................................................................................... 3
  2   Pathak v. Specialty Meats & Gourmet LLC,
        No. 2:16-cv-02124-GMN-NJK, 2018 U.S. Dist. LEXIS 13817
  3     (D. Nev. Jan. 10, 2018) .............................................................................................. 6
  4   Pebble Beach Co. v. Caddy,
        453 F.3d 1151 (9th Cir. 2006) ................................................................. 2, 4, 5, 6, 10
  5
      Piedmont Label Co. v. Sun Garden Packing Co.,
  6     598 F.2d 491 (9th Cir. 1979) ................................................................................... 12
  7   Precision Craft Log Structures, Inc. v. Cabin Kit Co.,
        No. CV05-199-S-EJL, 2006 U.S. Dist. LEXIS 19233
  8     (D. Idaho Mar. 3, 2006) ............................................................................................. 3
  9   Premier Funding Grp. LLC v. Aviva Life & Annuity Co.,
        No. CV-14-01633-PHX-DGC, 2014 U.S. Dist. LEXIS 169335,
 10     2014 WL 6885732 (D. Ariz. Dec. 8, 2014) ............................................................. 11
 11   Rhino Metals, Inc. v. Kodiak Safe Co., Ltd. Liab. Co.,
        No. 1:16-285-EJL-REB, 2017 U.S. Dist. LEXIS 91744
 12     (D. Idaho Mar. 25, 2017) ......................................................................................... 11
 13   Schwarzenegger v. Fred Martin Motor Co.,
        374 F.3d 797 (9th Cir. 2004) ..................................................................................... 3
 14
      Search Force, Inc. v. Data Force Int'l, Inc.,
 15     112 F. Supp. 2d 771 (S.D. Ind. 2000) ........................................................................ 9
 16   United Truck & Equip., Inc. v. Curry Supply Co.,
       No. CV08-01046-PHX-GMS, 2008 U.S. Dist. LEXIS 110213
 17    (D. Ariz. Nov. 5, 2008) ............................................................................................ 12
 18   Walden v. Fiore,
       571 U.S. 277 (2014) ........................................................................... 3, 6, 7, 9, 10, 11
 19
      Wash. Shoe Co. v. A-Z Sporting Goods Inc.,
 20    704 F.3d 668 (9th Cir. 2012) ............................................................................... 5, 11
 21   Williams v. Yamaha Motor Co.,
       851 F.3d 1015 (9th Cir. 2017) ................................................................................... 1
 22
      Woodke v. Dahm,
 23    70 F.3d 983 (8th Cir. 1995) ..................................................................................... 12
 24   World-Wide Volkswagen Corp. v. Woodson,
       444 U.S. 286 (1980) ................................................................................................... 9
 25
                                                 FEDERAL STATUTES
 26
      28 U.S.C. § 1391.......................................................................................................... 12
 27
      28 U.S.C. § 1391(b)(2) ................................................................................................ 12
 28

                                                iv
           DEFENDANTS’ MOTION TO DISMISS PURSUANT TO FED. R. CIV. P. 12(B)(2), 12(B)(3), OR IN THE
                  ALTERNATIVE, TO TRANSFER VENUE UNDER 28 U.S.C. §§ 1404, 1406, 1631
Case 2:18-cv-05933-PA-AS Document 16 Filed 07/30/18 Page 8 of 22 Page ID #:77



      28 U.S.C. § 1404............................................................................................................ 1
  1
      28 U.S.C. § 1404(a) ..................................................................................................... 13
  2
      28 U.S.C. § 1406............................................................................................................ 1
  3
      28 U.S.C. § 1406(a) ..................................................................................................... 13
  4
      28 U.S.C. § 1631...................................................................................................... 1, 13
  5
                                                     FEDERAL RULES
  6
      Fed. R. Civ. P. 12(b)(2) ................................................................................................. 1
  7
      Fed. R. Civ. P. 12(b)(3) ........................................................................................... 1, 12
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                                                v
           DEFENDANTS’ MOTION TO DISMISS PURSUANT TO FED. R. CIV. P. 12(B)(2), 12(B)(3), OR IN THE
                  ALTERNATIVE, TO TRANSFER VENUE UNDER 28 U.S.C. §§ 1404, 1406, 1631
Case 2:18-cv-05933-PA-AS Document 16 Filed 07/30/18 Page 9 of 22 Page ID #:78



  1          Defendants Deux Ron, Inc., Ron Hensley and Eric Hensley have moved this
  2   Honorable Court for an Order dismissing Plaintiff’s complaint pursuant to Federal
  3   Rules of Civil Procedure 12(b)(2) and 12(b)(3) on the grounds that this Court lacks
  4   personal jurisdiction over Defendant, and this Court is the improper venue for
  5   Plaintiff’s lawsuit. Alternatively, this Court should transfer this case under 28 U.S.C.
  6   § 1404, 1406 or 1631 to the appropriate venue, the Eastern District of Tennessee.
  7   I.     PERSONAL JURISDICTION1
  8          Defendant Deux Ron's business, located in the mountains of eastern Tennessee,
  9   is decidedly local. Defendants Ron and Eric Hensley are Tennessee residents that
 10   have no connection to California. Subjecting any of them to the jurisdiction of a
 11   California court would violate the Supreme Court’s instructions that personal
 12   jurisdiction must focus on the defendant’s actions. Therefore, this Court should
 13   dismiss this case for lack of personal jurisdiction pursuant to Federal Rule of Civil
 14   Procedure 12(b)(2).
 15          A.      Defendants' Sworn Facts
 16          Ron and Eric Hensley 2 have submitted sworn Declarations in support of the
 17   instant Motion, which can be summarized as follows:
 18

 19               • All Defendants reside in Tennessee, have no operations outside of that
                    State, have never conducted business in California or purposely directed
 20                 activities toward California
 21
                  • Defendant Deux Ron provides services only in the Gatlinburg,
 22                 Tennessee area
 23
                  • The accused trademark, ARCADIA, is used only in connection with
 24
                    services offered by Deux Ron in Gatlinburg, Tennessee
 25

 26   1
      California’s long-arm statute is not at issue here, as it extends the full breadth due process allows.
 27 Axiom  Foods, Inc. v. Acerchem Int'l, Inc., 874 F.3d 1064, 1067 (9th Cir. 2017) (citing Williams v.
    Yamaha Motor Co., 851 F.3d 1015, 1020 (9th Cir. 2017)).
 28 2 See Declaration of Eric Hensley, Exhibit 1, and Declaration of Ron Hensley, Exhibit 2.

                                                1
           DEFENDANTS’ MOTION TO DISMISS PURSUANT TO FED. R. CIV. P. 12(B)(2), 12(B)(3), OR IN THE
                  ALTERNATIVE, TO TRANSFER VENUE UNDER 28 U.S.C. §§ 1404, 1406, 1631
Case 2:18-cv-05933-PA-AS Document 16 Filed 07/30/18 Page 10 of 22 Page ID #:79



   1                 • Ron and Eric Hensley, as individuals, have never offered services under
                       the ARCADIA mark
   2

   3                 • Out of 4,607 online orders for goods and services made through Deux
                       Ron's website during the past ten years, whether or not related to the
   4                   ARCADIA mark, only one customer with a California address ever
   5                   ordered an ARCADIA "Play Card" (.02%)
   6
                     • Customers who order ARCADIA "Play Cards" online must pick them up
   7                   at the Space Needle ticket booth in Gatlinburg, Tennessee

                     • Based on yelp.com's online procedures, the alleged customer identified
   8

   9                   in the Complaint who wrote a review of Deux Ron's services in
                       connection with the ARCADIA mark in 2016 may not have been a
  10
                       California resident, and only received services, if at all, in Tennessee
  11
                     • Since at least 2008, Deux Ron has continuously used the ARCADIA
  12
                       mark for entertainment services including providing arcade, amusement
  13                   and recreation facilities
  14
                     • Plaintiff's filings in the U.S. Patent and Trademark Office (USPTO)
  15                   indicate that, no sooner than December, 2010 does it claim to have begun
  16
                       using PENNY ARCADIA to provide amusement facilities and to rent
                       amusement machines and apparatuses
  17

  18                 • None of the Defendants knew of Plaintiff's existence or its alleged use of
                       any mark using the term "Arcadia" prior to the time Deux Ron filed its
  19                   application to register the mark ARCADIA in the USPTO in mid-2017
  20

  21
              B.        Rule 12 Standard

  22
              To resolve a motion to dismiss for lack of personal jurisdiction, the court may

  23
       consider declarations by the parties.3 Disputed allegations are resolved for the

  24
       plaintiff.4

  25
              There are two types of personal jurisdiction: “general” and “specific.”5 A court

  26
       3
       Data Disc. Inc. v. Systems Tech. Assocs., Inc., 557 F.2d 1280, 1285 (9th Cir. 1977).
  27   4
       Pebble Beach Co. v. Caddy, 453 F.3d 1151, 1154 (9th Cir. 2006).
  28 5 Bristol-Myers Squibb Co. v. Superior Court, 137 S. Ct. 1773, 1780 (2017).

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           DEFENDANTS’ MOTION TO DISMISS PURSUANT TO FED. R. CIV. P. 12(B)(2), 12(B)(3), OR IN THE
                  ALTERNATIVE, TO TRANSFER VENUE UNDER 28 U.S.C. §§ 1404, 1406, 1631
Case 2:18-cv-05933-PA-AS Document 16 Filed 07/30/18 Page 11 of 22 Page ID #:80



  1    has general jurisdiction over a party if it is “essentially at home” in the forum. 6 The
  2    Complaint makes no allegations supporting an assertion of general jurisdiction and
  3    the attached declarations confirm it, so it will not be discussed further. As for specific
  4    jurisdiction, the question is whether “the defendant’s suit-related conduct … create a
  5    substantial connection with the forum” 7—but “isolated,”8 “random, fortuitous, or
  6    attenuated contacts”9 are not enough.
  7           The Ninth Circuit has identified a three-element test for specific jurisdiction:
  8           (1) the defendant must either purposefully direct his activities toward the forum
  9    or purposefully avail himself of the privileges of conducting activities in the forum;
  10   (2) the claim must be one which arises out of or relates to the defendant's forum-
  11   related activities; and (3) the exercise of jurisdiction must comport with fair play and
  12   substantial justice, i.e. it must be reasonable. 10
  13          The first element can be satisfied with either of two tests, depending on the
  14   nature of the suit. The “purposeful direction” test, also known as the Calder “effects”
  15   test, is commonly used for torts. The “purposeful availment” test is commonly used
  16   for contracts. 11
  17          The main thrust of Plaintiff’s various claims is trademark infringement. While
  18   there is binding Ninth Circuit precedent that trademark infringement is not necessarily
  19   governed by the purposeful direction test, 12 subsequent cases appear to primarily rely
  20

       6
  21     See Goodyear Dunlop Tires Operations, S.A. v. Brown, 564 U.S. 915, 919 (2015).
       7
  22     Walden v. Fiore, 571 U.S. 277, 284 (2014); see also Bristol-Myers Squibb Co., 137 S. Ct. at 1780.
       8
         See Keeton v. Hustler Magazine, Inc., 465 U.S. 770, 774 (1984).
  23   9
         Morrill v. Scott Fin. Corp., 873 F.3d 1136, 1142 (9th Cir. 2017) (quoting Burger King Corp. v.
  24   Rudzewicz, 471 U.S. 462, 475 (1985)).
       10
          Axiom Foods, Inc., 874 F.3d 1064, 1068 (9th Cir. 2017) (quoting from Dole Food Co., Inc. v.
  25   Watts, 303 F.3d 1104, 1111 (9th Cir. 2002) (quotations and alteration marks omitted)).
       11
  26      Schwarzenegger v. Fred Martin Motor Co., 374 F.3d 797, 802 (9th Cir. 2004).
       12
          Cybersell, Inc. v. Cybersell, Inc., 130 F.3d 414, 420 (9th Cir. 1997); Precision Craft Log
  27   Structures, Inc. v. Cabin Kit Co., No. CV05-199-S-EJL, 2006 U.S. Dist. LEXIS 19233, at *16 (D.
       Idaho Mar. 3, 2006); see Audi AG v. D'Amato, 341 F. Supp. 2d 734, 746-47 (E.D. Mich. 2004)
  28   (quoting Panavision Int. L.P. v. Toeppen, 141 F.3d 1316, 1322 (9th Cir. 1998)).
                                                3
           DEFENDANTS’ MOTION TO DISMISS PURSUANT TO FED. R. CIV. P. 12(B)(2), 12(B)(3), OR IN THE
                  ALTERNATIVE, TO TRANSFER VENUE UNDER 28 U.S.C. §§ 1404, 1406, 1631
Case 2:18-cv-05933-PA-AS Document 16 Filed 07/30/18 Page 12 of 22 Page ID #:81



   1   on that test, so this brief will apply both tests. Here, though, because Plaintiff cannot
   2   satisfy either test, no further analysis is necessary. 13
   3          C.     ARGUMENT
   4                 1.      The Defendants Have Not Purposefully Availed Themselves of
   5                         California’s Benefits and Protections.
   6          “Evidence of availment is typically action taking place in the forum that
   7   invokes the benefits and protections of the laws in the forum.” 14 Courts find
   8   purposeful availment when a defendant “deliberately has engaged in significant
   9   activities within a State, or has created continuing obligations between himself and
  10   residents of the forum.” 15 There are no allegations that Defendants have themselves
  11   done anything in California. In no way have Defendants performed any actions or
  12   created any continuing relationships which were protected by California law. The
  13   purposeful availment test cannot be met.
  14                 2.      The Defendants Have Not Purposefully Directed Any
  15                         Activities Towards California.
  16          Plaintiff cannot show Defendants purposefully directed any activities related to
  17   this case towards California. Plaintiff has alleged that one California resident
  18   patronized Defendant Deux Ron’s Tennessee place of business, and that Defendants
  19   committed tort-like harms to Plaintiff, knowing that the effects of that harm would
  20   occur in California. Axiom Foods presented identical facts and the Ninth Circuit
  21   found insufficient contacts to support personal jurisdiction.
  22          As described by the Supreme Court in Calder, a defendant purposefully directs
  23   his activities towards a forum if he “(1) committed an intentional act, (2) expressly
  24

       13
  25    Pebble Beach Co. v. Caddy, 453 F.3d 1151, 1155 (9th Cir. 2006) (“Here, Pebble Beach's
     arguments fail under the first prong. Accordingly, we need not address whether the claim arose out
  26 of or resulted from Caddy's forum-related activities or whether an exercise of jurisdiction is
     reasonable ….”).
  27 14
        Pebble Beach Co., 453 F.3d at 1155.
  28 15 Burger King Corp. v. Rudzewicz, 471 U.S. 462, 476 (1985) (citations and quotations omitted).

                                                 4
            DEFENDANTS’ MOTION TO DISMISS PURSUANT TO FED. R. CIV. P. 12(B)(2), 12(B)(3), OR IN THE
                   ALTERNATIVE, TO TRANSFER VENUE UNDER 28 U.S.C. §§ 1404, 1406, 1631
Case 2:18-cv-05933-PA-AS Document 16 Filed 07/30/18 Page 13 of 22 Page ID #:82



  1    aimed at the forum state, (3) causing harm that the defendant knows is likely to be
  2    suffered in the forum state.”16
  3           With respect to the first prong, neither Ron Hensley nor Eric Hensley
  4    individually used the allegedly infringing mark in California or elsewhere. 17 The
  5    owner of record of the accused ARCADIA mark is Deux Ron, 18 which Plaintiff refers
  6    to in the Complaint as “Applicant.” 19 The Complaint's allegations of infringement
  7    and unfair competition are directed to the alleged actions of Deux Ron, not the
  8    Hensleys as individuals. Because neither Ron nor Eric Hensley committed an
  9    intentional act that is the subject of Plaintiff's claims, the "purposefully directed"
  10   inquiry fails at the first step with regard to the individual defendants.
  11          The latter two elements—“express aiming” and “foreseeable effects”—must
  12   not be blended. The Ninth Circuit elaborated in Pebble Beach. “[R]eferring to
  13   the Calder test as an ‘effects’ test can be misleading,” because “a mere foreseeable
  14   effect” in the forum is insufficient to establish jurisdiction. 20 At issue was a
  15   trademark infringement and unfair competition claim by the famed Pebble Beach golf
  16   course against an English defendant, who ran a website and hotel called “Pebble
  17   Beach” with full knowledge that the Pebble Beach golf course is in California.21 The
  18   Ninth Circuit held there was no personal jurisdiction. The defendant’s “knowledge of
  19   the Pebble Beach golf resort goes to the foreseeable effect prong of the ‘effects test’
  20   and is not an independent act that can be interpreted as being expressly aimed at
  21   California.”22 Nor did it matter that the defendant provided “occasional[] services” to
  22

       16
  23      Axiom Foods, Inc. v. Acerchem Int'l, Inc., 874 F.3d 1064, 1069 (9th Cir. 2017) (quoting Wash.
       Shoe Co. v. A-Z Sporting Goods Inc., 704 F.3d 668, 673 (9th Cir. 2012)).
  24   17
          Eric Hensley Decl. ¶ 27; Ron Hensley Decl. ¶ 23.
       18
  25      See U.S. trademark application No. 87/453,154, copy attached as Exhibit 3.
       19
  26      Doc. 1, ¶¶ 29-39.
       20
          Id. at 1156.
  27   21
          Pebble Beach Co., 453 F.3d at 1157.
       22
  28      Id. at 1158.
                                                 5
            DEFENDANTS’ MOTION TO DISMISS PURSUANT TO FED. R. CIV. P. 12(B)(2), 12(B)(3), OR IN THE
                   ALTERNATIVE, TO TRANSFER VENUE UNDER 28 U.S.C. §§ 1404, 1406, 1631
Case 2:18-cv-05933-PA-AS Document 16 Filed 07/30/18 Page 14 of 22 Page ID #:83



  1    forum residents, as there was no connection between those services and the
  2    defendant’s alleged infringing activities.23
  3           The Supreme Court in 2014 explained that the defendant’s knowledge that a
  4    plaintiff will suffer harm in a given forum does not satisfy the Calder test. The case,
  5    Walden v. Fiore, concerned an Atlanta airport DEA agent that seized a large amount
  6    of cash from some travelers; the travelers filed a Bivens action. The agent allegedly
  7    knew the travelers in question lived in Las Vegas, and Las Vegas was their final
  8    destination. The Ninth Circuit upheld jurisdiction, writing that “the critical factor is
  9    whether [defendant], knowing of [plaintiffs’] significant connections to Nevada,
  10   should be taken to have intended that the consequences of his actions would be felt by
  11   them in that state.” 24 The Supreme Court unanimously reversed. It was not enough
  12   that the agent allegedly “directed his conduct at plaintiffs whom he knew had Nevada
  13   connections,” because that puts too much focus on the plaintiff, and it is the
  14   defendant’s connections with the forum state that must be the focus.25 The Supreme
  15   Court has since summarized its holding in Walden like this: “We held [in Walden]
  16   that the Nevada courts lacked specific jurisdiction even though the plaintiffs were
  17   Nevada residents and ‘suffered foreseeable harm in Nevada.’” 26
  18          Late last year, in Axiom Foods, Inc. v. Acerchem Int'l, Inc., the Ninth Circuit
  19   applied Walden to intellectual property infringement cases.27 The defendants, located
  20   in the UK, had published a newsletter including the plaintiff’s copyrighted labels.
  21   The bulk of the newsletter’s recipients were in western Europe, but about ten
  22

  23
       23
          Id. at 1159.
  24   24
          Fiore v. Walden, 688 F.3d 558, 580 (9th Cir. 2012).
       25
  25      Walden v. Fiore, 571 U.S. 277, 289 (2014) (emphasis added).
       26
  26      Bristol-Myers Squibb Co. v. Superior Court, 137 S. Ct. 1773, 1781 (2017) (quoting Walden, 571
       U.S. at 289).
       27
  27      874 F.3d 1064, 1070 (9th Cir. 2017); see Pathak v. Specialty Meats & Gourmet LLC, No. 2:16-
       cv-02124-GMN-NJK, 2018 U.S. Dist. LEXIS 13817, at *4 n.3 (D. Nev. Jan. 10, 2018) (noting that
  28   Axiom Foods applies to “intellectual property infringement” cases).
                                                 6
            DEFENDANTS’ MOTION TO DISMISS PURSUANT TO FED. R. CIV. P. 12(B)(2), 12(B)(3), OR IN THE
                   ALTERNATIVE, TO TRANSFER VENUE UNDER 28 U.S.C. §§ 1404, 1406, 1631
Case 2:18-cv-05933-PA-AS Document 16 Filed 07/30/18 Page 15 of 22 Page ID #:84



  1    recipients were located in California. The Ninth Circuit held there was no personal
  2    jurisdiction. It did not matter whether the defendants were aware of the plaintiff’s
  3    location in California. “[W]rongful conduct targeted at a plaintiff the defendant
  4    knows to be a resident of the forum state” does not constitute enough of a connection
  5    to the forum to extend personal jurisdiction. 28 Further, the few newsletters sent to
  6    California were not sufficient to create a “substantial connection” to California. 29
  7           In Advanced Tactical Ordnance, the Seventh Circuit applied Walden to
  8    trademark infringement and unfair competition claims. 30 The Indiana plaintiff made
  9    non-lethal projectile balls for crowd control; the California defendant bought some of
  10   those products and sought to sell them online. 31 There was no personal jurisdiction in
  11   Indiana, even though it was alleged that defendants conspired to engage in tortious
  12   conduct to harm the plaintiffs in Indiana, and the defendant sent marketing emails that
  13   reached at least one Indiana resident, the defendant made at least one sale to Indiana,
  14   and the defendant’s website marketed products that could be bought in Indiana. First,
  15   the emails and single sale to Indiana could not create personal jurisdiction because it
  16   was not connected to the allegedly infringing postings.32 Second, it was not enough
  17   to allege that the defendants intended to harm plaintiffs and foresaw causing harm in
  18   Indiana to plaintiffs. Finding jurisdiction on that basis would run contrary to
  19   Walden. 33
  20          This Court, in Carsey-Werner, applied Walden and Axiom Foods to a plaintiff
  21   seeking to submit the BBC to suit in California, because the BBC had allegedly aired
  22

  23   28
          Axiom Foods, Inc., 874 F.3d at 1069-70.
       29
  24      Id. at 1070-71.
       30
  25      Advanced Tactical Ordnance Sys., LLC v. Real Action Paintball, Inc., 751 F.3d 796, 799 (7th Cir.
       2014), discussed in David C. Hilliard et al., Trademarks and Unfair Competition Deskbook §
  26   13.01[3][e] (8th ed.).
       31
          Id. at 798-99.
  27   32
          Id. at 801.
       33
  28      Id. at 802.
                                                 7
            DEFENDANTS’ MOTION TO DISMISS PURSUANT TO FED. R. CIV. P. 12(B)(2), 12(B)(3), OR IN THE
                   ALTERNATIVE, TO TRANSFER VENUE UNDER 28 U.S.C. §§ 1404, 1406, 1631
Case 2:18-cv-05933-PA-AS Document 16 Filed 07/30/18 Page 16 of 22 Page ID #:85



  1    on the internet a program that willfully infringed on the plaintiff’s copyright.34 It did
  2    not matter that some Californians viewed the program, or that the BBC knew that
  3    would happen, as those facts could not show the BBC directed any activities towards
  4    California.35 Further, it did not matter that some parts of the program were filmed in
  5    Los Angeles, as those parts were not connected to the infringement.36 Personal
  6    jurisdiction was denied.
  7                          a.     Plaintiffs have not alleged Defendants “expressly aimed”
  8                                 any litigation-related activities towards California.
  9           This case is indistinguishable from this Court’s decision in Carsey-Werner, and
  10   is controlled by Axiom Foods. Here is what Plaintiff alleges about Defendants:
  11

  12
              1.     “Defendants heavily rely on online marketing” of their entertainment
                     services. ¶ 6. “Defendants are selling tickets on its website for an
  13                 ‘Arcadia Play Card’… and consumers from all over the world may
  14
                     purchase these tickets including those customers located in the Central
                     District of California.” ¶9
  15

  16
              2.     “Defendants have serviced at least one customer who purports to reside
                     in California.” ¶9.
  17

  18
              3.     “Defendants are applying for a nationwide Federal Trademark …
                     including protection in the Central District of California …, and
  19                 affording Defendants this protection would cause significant consumer
  20                 confusion for customers located in the Central District of California as to
                     the source of Defendants’ Infringing Services.” ¶9.
  21

  22          4.     “Defendants had full and actual knowledge of Plaintiff’s ownership of
                     the PENNY ARCADIA Marks ….” ¶20.
  23

  24          Plaintiff does not allege that Defendants have ever been to California, shipped a
  25

       34
  26    Carsey-Werner Co., LLC v. BBC, No. CV 17-8041 PA (ASx), 2018 U.S. Dist. LEXIS 33862, at
     *11-16 (C.D. Cal. Feb. 23, 2018) (Anderson, J.).
  27 35
        Id. at *17-20.
  28 36 Id. at *21.

                                                 8
            DEFENDANTS’ MOTION TO DISMISS PURSUANT TO FED. R. CIV. P. 12(B)(2), 12(B)(3), OR IN THE
                   ALTERNATIVE, TO TRANSFER VENUE UNDER 28 U.S.C. §§ 1404, 1406, 1631
Case 2:18-cv-05933-PA-AS Document 16 Filed 07/30/18 Page 17 of 22 Page ID #:86



  1    product into California, or specifically targeted California with advertising or other
  2    marketing. Nor could any such allegation be true, as Defendants’ declarations show.
  3           It is both common sense, and well-established law, that Defendants do not
  4    expressly aim their activities at California by maintaining a website that can be
  5    accessed by anyone, including Californians. 37 Further, under Axiom Foods, Plaintiff’s
  6    allegations that Defendants have caused confusion to customers in California, with
  7    knowledge that Plaintiff owns the PENNY ARCADIA mark, is simply not “express
  8    aiming” at California. To find otherwise would allow impermissible focus on the
  9    Plaintiff’s connections to California, not the Defendant’s connections to California.38
  10          Plaintiff’s other allegations are the definition of “isolated” contacts that do not
  11   arise to a “substantial connection.” Similar to the single sale and shipment to the
  12   forum in Advanced Tactical, where there was no personal jurisdiction,39 Defendants
  13   have sold 1 Play Card to a Californian, out of 4,607 online orders for goods and
  14   services—some under the ARCADIA mark, some not—in the past ten years. The
  15

  16
       37
          See, e.g., Cybersell, Inc. v. Cybersell, Inc., 130 F.3d 414, 419 (9th Cir. 1997); EcoDisc Tech. AG
  17   v. DVD Format/Logo Licensing Corp., 711 F. Supp. 2d 1074, 1093 (C.D. Cal. 2010) (“[T]he
       announcement posted on the passive globally accessible website cannot confer jurisdiction simply
  18   because California residents can access it.”); Am. Info. Corp. v. Am. INFOMETRICS, INC., 139 F.
       Supp. 2d 696, 699 (D. Md. 2001); Search Force, Inc. v. Data Force Int'l, Inc., 112 F. Supp. 2d 771,
  19   777-78 (S.D. Ind. 2000) (“Recent district court cases involving Internet activity and trademark
       infringement claims reinforce the notion that a defendant must avail itself of the forum state in a
  20   manner that is somehow more purposeful than an allegedly infringing domain name or use of an
       allegedly infringing mark on an interactive web site.”); Edberg v. Neogen Corp., 17 F. Supp. 2d
  21   104, 114 (D. Conn. 1998) (“There is also no evidence that this Web site advertisement was directed
       at Connecticut anymore than anyplace else in the nation.”); see also Mavrix Photo, Inc. v. Brand
  22   Techs., Inc., 647 F.3d 1218, 1231 (9th Cir. 2011) (“Not all material placed on the Internet is, solely
       by virtue of its universal accessibility, expressly aimed at every state in which it is accessed.”);
  23   McGibney v. Retzlaff, No. 14-cv-01059-BLF, 2015 U.S. Dist. LEXIS 79434, at *11 (N.D. Cal. June
       18, 2015) (harmful internet postings “floating in the ether,” that a forum resident happens to see, are
  24   not sufficient basis for personal jurisdiction).
       38
  25      Axiom Foods, Inc. v. Acerchem Int'l, Inc., 874 F.3d 1064, 1070 (9th Cir. 2017) (“The [Walden]
       Court found that our approach "impermissibly allow[ed] a plaintiff's contacts with the defendant and
  26   forum to drive the jurisdictional analysis." (quoting Walden, 571 U.S. at 289) (alteration in
       original)).
       39
  27      See also World-Wide Volkswagen Corp. v. Woodson, 444 U.S. 286, 297 (1980) (holding no
       personal jurisdiction for car dealership, where only contact with state was that car purchased at
  28   dealership allegedly caused injury in that state).
                                                 9
            DEFENDANTS’ MOTION TO DISMISS PURSUANT TO FED. R. CIV. P. 12(B)(2), 12(B)(3), OR IN THE
                   ALTERNATIVE, TO TRANSFER VENUE UNDER 28 U.S.C. §§ 1404, 1406, 1631
Case 2:18-cv-05933-PA-AS Document 16 Filed 07/30/18 Page 18 of 22 Page ID #:87



  1    connection here is even less, however, because the Play Card was not shipped to
  2    California, and could only be picked up at a ticket counter in Tennessee and used in
  3    Tennessee. Further, a single online reviewer, who purports to currently live in
  4    California and to have visited Deux Ron's place of business in Tennessee two years
  5    ago, cannot be anything other than an “isolated” contact—if a contact at all, as any
  6    alleged "harm" to that reviewer would have occurred onsite in Tennessee. That is less
  7    of a connection than in Axiom Foods, where ten infringing newsletters were sent to
  8    California but personal jurisdiction was denied.
  9             Even if the few California connections Plaintiff has alleged were enough, they
  10   have to relate to the suit in order to constitute “express aiming.” The Ninth Circuit
  11   held in Pebble Beach it was insufficient that the defendant “occasionally services”
  12   residents of the forum, absent at least some evidence connecting the provision of
  13   service to those residents to the alleged infringement.40 Similarly, in Advanced
  14   Tactical, the Seventh Circuit held that a few sales to forum residents could not
  15   support jurisdiction over a trademark suit without evidence linking those particular
  16   sales to the infringement. Plaintiff has made no such allegation that the one patron
  17   who may be from California, or a Californian’s purchase of a play card, has anything
  18   to do with Defendants’ alleged infringement. (Such an allegation would likely be
  19   pure speculation in violation of Rule 11.)
  20            Defendants’ activities are focused in Tennessee and the Southeast, not
  21   California. To whatever extent Defendants’ alleged infringement has caused harm in
  22   California, Walden and Axiom Foods hold such alleged harm does not create personal
  23   jurisdiction. Nor does Deux Ron's generally viewable website, and “isolated”
  24   interactions with up to two California patrons, arise to a “substantial connection” to
  25   Tennessee. Because Plaintiff cannot prove that Defendants “purposefully directed”
  26   their activities towards California, Plaintiff cannot show that this Court has specific
  27

       40
  28        Pebble Beach Co. v. Caddy, 453 F.3d 1151, 1159-60 (9th Cir. 2006).
                                                  10
             DEFENDANTS’ MOTION TO DISMISS PURSUANT TO FED. R. CIV. P. 12(B)(2), 12(B)(3), OR IN THE
                    ALTERNATIVE, TO TRANSFER VENUE UNDER 28 U.S.C. §§ 1404, 1406, 1631
Case 2:18-cv-05933-PA-AS Document 16 Filed 07/30/18 Page 19 of 22 Page ID #:88



  1    personal jurisdiction.
  2                   3.      Cases Predating Axiom Foods Are No Basis to Find Personal
  3                           Jurisdiction Here.
  4            Before the Supreme Court’s guidance in Walden, a few decisions from Ninth
  5    Circuit cases 41 appeared to establish that where an intellectual property infringer
  6    knows a plaintiff is located in a particular forum, there is personal jurisdiction in that
  7    forum. 42 This was known as personal jurisdiction based on “individualized
  8    targeting.”43 District courts disagreed about whether Walden abrogated the
  9    “individualized targeting” line of cases.44 Axiom Foods resolved the controversy. It
  10   expressly discussed the various Ninth Circuit cases at issue and concluded that they
  11   were not consistent with Walden.45 Several district courts have acknowledged the
  12   debate is over.46
  13   II.     VENUE
  14           Venue is not proper in this court. Plaintiff has the burden of showing that
  15
       41
  16      See Wash. Shoe Co. v. A-Z Sporting Goods Inc., 704 F.3d 668, 678 (9th Cir. 2012); Brayton
       Purcell LLP v. Recordon & Recordon, 606 F.3d 1124, 1130 (9th Cir. 2010); Bancroft & Masters,
  17   Inc. v. Augusta Nat'l Inc., 223 F.3d 1082, 1087 (9th Cir. 2000); see also Nissan Motor Co. v. Nissan
       Computer Corp., 246 F.3d 675 (9th Cir. 2000) (unpublished decision); MCA Records v. Charly
  18   Records Ltd., 108 F.3d 338, 1997 WL 76173, *8 (9th Cir. Feb. 21, 1997) (unpublished decision);
       42
          Premier Funding Grp. LLC v. Aviva Life & Annuity Co., No. CV-14-01633-PHX-DGC, 2014
  19   U.S. Dist. LEXIS 169335, 2014 WL 6885732, at *4 (D. Ariz. Dec. 8, 2014).
       43
  20      Axiom Foods, Inc. v. Acerchem Int'l, Inc., 874 F.3d 1064, 1069 (9th Cir. 2017).
       44
          Adidas Am., Inc. v. Cougar Sport, Inc., 169 F. Supp. 3d 1079, 1090 n.4 (D. Or. 2016). Compare
  21   Premier Funding Grp. LLC v. Aviva Life & Annuity Co., No. CV-14-01633-PHX-DGC, 2014 U.S.
       Dist. LEXIS 169335, 2014 WL 6885732, at *4 (D. Ariz. Dec. 8, 2014) (Walden did abrogate),
  22   Erickson v. Neb. Mach. Co., No. 15-cv-01147-JD, 2015 U.S. Dist. LEXIS 87417, at *8 (N.D. Cal.
       July 6, 2015) (same), with Rhino Metals, Inc. v. Kodiak Safe Co., Ltd. Liab. Co., No. 1:16-285-EJL-
  23   REB, 2017 U.S. Dist. LEXIS 91744, at *15 & n.4 (D. Idaho Mar. 25, 2017) (Walden did not
       abrogate); Fighter's Mkt., Inc. v. Champion Courage Llc, 207 F. Supp. 3d 1145, 1152 & n.4 (S.D.
  24   Cal. 2016) (same).
       45
  25      See Axiom Foods, Inc., 874 F.3d at 1069.
       46
          See Haigh v. Abuelizam, No. 17-00582 JMS-KSC, 2018 U.S. Dist. LEXIS 56948, at *9 (D. Haw.
  26   Apr. 3, 2018) (discussing Axiom Foods and that “individualized targeting” now insufficient to
       establish personal jurisdiction); Carsey-Werner Co., LLC v. BBC, No. CV 17-8041 PA (ASx), 2018
  27   U.S. Dist. LEXIS 33862, at *17 (C.D. Cal. Feb. 23, 2018) (same); GemCap Lending I, Ltd. Liab.
       Co. v. Grow Mich., Ltd. Liab. Co., No. 2:17-cv-07092-ODW (AS), 2018 U.S. Dist. LEXIS 15989, at
  28   *11 (C.D. Cal. Jan. 31, 2018) (same).
                                                  11
             DEFENDANTS’ MOTION TO DISMISS PURSUANT TO FED. R. CIV. P. 12(B)(2), 12(B)(3), OR IN THE
                    ALTERNATIVE, TO TRANSFER VENUE UNDER 28 U.S.C. §§ 1404, 1406, 1631
Case 2:18-cv-05933-PA-AS Document 16 Filed 07/30/18 Page 20 of 22 Page ID #:89



  1    venue is proper. 47 This Court may consider evidence outside the pleadings 48 and need
  2    not accept Plaintiff’s allegations as true. 49 The general venue statute applies here. 50
  3           As there is no basis to assert that Defendants are residents of the Central
  4    District, venue may only lie if a “substantial part of the events or omissions giving
  5    rise to the claim occurred [there].” 51 “[A] trademark infringement claim does not arise
  6    in a district where the defendant has only miniscule contact.”52 In United Truck &
  7    Equipment, an Arizona district court held that venue was improper over a trademark
  8    suit because the defendant had not shipped any products or catalogs into Arizona, the
  9    defendant did not advertise or solicit sales in Arizona, and did not generate business
  10   activity from Arizona from its website.53 That the plaintiff suffered harm in the venue
  11   was insufficient.54
  12          This case is similar. Defendants have shipped no goods to California. The one
  13   Play Card that has been sold to someone in California could only be used in
  14   Tennessee, and there is no evidence to suggest that that buyer bought the card due to
  15   any confusion about the related trademarks. In short, none of the events or omissions
  16   “giving rise” to Plaintiff’s claim occurred in California, so venue in the Central
  17   District of California is inappropriate and this Court should dismiss under Fed. R.
  18   Civ. P. 12(b)(3).
  19
       47
  20      Piedmont Label Co. v. Sun Garden Packing Co., 598 F.2d 491, 496 (9th Cir. 1979).
       48
          Murphy v. Schneider Nat'l, Inc., 362 F.3d 1133, 1138 (9th Cir. 2004).
  21   49
          eBay Inc. v. Digital Point Solutions, Inc., 608 F.Supp.2d 1156, 1161 (N.D. Cal. 2009).
       50
  22      28 U.S.C. § 1391; see Golden Scorpio Corp. v. Steel Horse Bar & Grill, 596 F.Supp.2d 1282,
       1286 n. 3 (D. Ariz., 2009) ("Because the Lanham Act has no special venue provision, the general
  23   venue statute applies.").
       51
  24      28 U.S.C. § 1391(b)(2).
       52
          Holder Corp. v. Main St. Distrib., No. CIV 86-1285 PHX RCB, 1987 U.S. Dist. LEXIS 10345, at
  25   *6 (D. Ariz. Jan. 16, 1987) (quoting Honda Associates, Inc. v. Nozawa Trading, Inc., 374 F. Supp.
       886 (S.D.N.Y. 1974)); see also
  26   Int'l Comfort Prods. v. Hanover House Indus., 739 F. Supp. 503, 505 (D. Ariz. 1989).
       53
  27      United Truck & Equip., Inc. v. Curry Supply Co., No. CV08-01046-PHX-GMS, 2008 U.S. Dist.
       LEXIS 110213, at *37-38 (D. Ariz. Nov. 5, 2008).
       54
  28      Id. at *37 n.8 (citing Woodke v. Dahm, 70 F.3d 983, 985 (8th Cir. 1995)).
                                                 12
            DEFENDANTS’ MOTION TO DISMISS PURSUANT TO FED. R. CIV. P. 12(B)(2), 12(B)(3), OR IN THE
                   ALTERNATIVE, TO TRANSFER VENUE UNDER 28 U.S.C. §§ 1404, 1406, 1631
Case 2:18-cv-05933-PA-AS Document 16 Filed 07/30/18 Page 21 of 22 Page ID #:90



  1             Should, however, this Court in its discretion conclude that dismissal is not
  2    appropriate due to improper venue, this Court should transfer this case to the United
  3    States District Court for the Eastern District of Tennessee, where venue would be
  4    appropriate. 55
  5    III.     CONCLUSION
  6             Due process requires that this Court dismiss for lack of personal jurisdiction
  7    because Defendants have no “substantial connection” to California. For similar
  8    reasons, this Court should dismiss for improper venue. Alternatively, this Court
  9    should transfer this case to the Eastern District of Tennessee.
  10

  11    DATED: July 30, 2018                              Respectfully submitted,
  12                                                      GLASER WEIL FINK HOWARD
                                                           AVCHEN & SHAPIRO LLP
  13

  14
                                                          By: /s/ Erica J. Van Loon
  15
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  17                                                         and Eric Hensley.
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  24

  25

  26

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       55
  28        See 28 U.S.C. §§ 1404(a), 1406(a) and 1631.
                                                   13
              DEFENDANTS’ MOTION TO DISMISS PURSUANT TO FED. R. CIV. P. 12(B)(2), 12(B)(3), OR IN THE
                     ALTERNATIVE, TO TRANSFER VENUE UNDER 28 U.S.C. §§ 1404, 1406, 1631
Case 2:18-cv-05933-PA-AS Document 16 Filed 07/30/18 Page 22 of 22 Page ID #:91



  1                                 DEMAND FOR JURY TRIAL
  2           In accordance with Fed. R. Civ. P. 38(b), Defendants Deux Ron, Inc., Ron
  3    Hensley, and Eric Hensley hereby demand a trial by jury in this action on all issues so
  4    triable.
  5
                                                     GLASER WEIL FINK HOWARD
  6     DATED: July 30, 2018                          AVCHEN & SHAPIRO LLP
  7

  8                                                  By: /s/ Erica J. Van Loon
  9
                                                     ERICA J. VAN LOON

  10                                                 JOHN G. JACKSON (pro hac vice app.
  11
                                                     pending)

  12                                                      Attorneys for Defendants
                                                          Deux Ron, Inc., Rob Hensley,
  13                                                      and Eric Hensley.
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           DEFENDANTS’ MOTION TO DISMISS PURSUANT TO FED. R. CIV. P. 12(B)(2), 12(B)(3), OR IN THE
                  ALTERNATIVE, TO TRANSFER VENUE UNDER 28 U.S.C. §§ 1404, 1406, 1631
